Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 1 of 16 Page ID #:545



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 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10

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12   CRYTEK GMBH,                            )   Case No. 2:17-CV-08937
                                             )
13        vs.                                )   [HON. DOLLY M. GEE]
                                             )
14   CLOUD IMPERIUM GAMES CORP. and          )   MEMORANDUM OF POINTS
     ROBERTS SPACE INDUSTRIES CORP.,         )
15                                           )   AND AUTHORITIES IN SUPPORT
                Defendants.                  )   OF DEFENDANTS’ MOTION TO
16                                           )   DISMISS THE SECOND
                                             )
17                                           )   AMENDED COMPLAINT IN
                                             )   PART
18                                           )
                                             )   Date:      October 12, 2018
19                                           )   Time:      9:30 AM
                                             )   Courtroom: 8C
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Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 2 of 16 Page ID #:546



 1                                               TABLE OF CONTENTS
 2

 3   PRELIMINARY STATEMENT ........................................................................................ 1
 4

 5
     STATEMENT OF RELEVANT ALLEGATIONS ........................................................... 1

 6   LEGAL STANDARD ........................................................................................................ 6
 7

 8
     ARGUMENT ...................................................................................................................... 7

 9   I.       The SAC Fails To State A Claim For Breach Of Section 2.4 Of The GLA Because
10            Crytek Has Not Alleged Any Facts To Support A Claim That Defendants Have
11            Engaged In A Competing Game Engine Business................................................... 7
12

13
                       A.       The Plain Language Of The GLA Only Prohibits Defendants From

14
                                Engaging In The Business Of Promoting Competing Game Engines . 7

15
                       B.       The SAC Fails To Allege Any Facts To Support A Claim That

16
                                Defendants Have Engaged In The Business Of Promoting A

17
                                Competing Game Engine................................................................. 10

18
     CONCLUSION................................................................................................................. 12

19
20

21

22

23

24

25

26

27

28

     ___________________________________________________________________________________
                          TABLES OF CONTENTS AND AUTHORITIES
                                              i
Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 3 of 16 Page ID #:547



 1
                                               TABLE OF AUTHORITIES

 2                                                                                                                        Page(s)
 3   Cases

 4   Am. Alternative Ins. Corp. v. Superior Court,
 5    135 Cal. App. 4th 1239 (2006) ......................................................................................... 9
 6   Ashcroft v. Iqbal,
 7     556 U.S. 662 (2009) ......................................................................................................... 6
 8   Bell Atlantic Corp. v. Twombly,
 9     550 U.S. 554 (2007) ......................................................................................................... 6
10   Coto Settlement v. Eisenberg,
11    593 F.3d 1031 (9th Cir. 2010) .......................................................................................... 2
12   County of Marin v. Assessment Appeals Bd.,
13    64 Cal. App. 3d 319 (1976) ............................................................................................ 10
14   Epic Commc’ns, Inc. v. Richwave Tech., Inc.,
15    237 Cal. App. 4th 1342 (2015) ......................................................................................... 9
16   Lyons v. Fire Ins. Exch.,
17     161 Cal. App. 4th, 880 (2008) .......................................................................................... 9
18   Nat’l City Police Officers’ Ass’n v. City of Nat’l City,
19    87 Cal. App. 4th 1274 (2001) ........................................................................................... 9
20
     Scheenstra v. Cal. Diaries, Inc.,
21     213 Cal. App. 4th 370 (2013) ......................................................................................... 10
22
     Starr v. Baca,
23     652 F.3d 1202 (9th Cir. 2011) .......................................................................................... 7
24
     Transp. Guar. Co. v. Jellins,
25     29 Cal. 2d 242 (1946) ....................................................................................................... 9
26
     Yahoo! Inc. v. Nat’l Union Fire Ins. Co. of Pittsburgh, PA,
27     255 F. Supp. 3d 970 (N.D. Cal. 2017).............................................................................. 9
28

     ___________________________________________________________________________________
                          TABLES OF CONTENTS AND AUTHORITIES
                                              ii
Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 4 of 16 Page ID #:548



 1
     Zindel v. Fox Searchlight Pictures, Inc.,
       No. CV 18-1435 PA (KSx), 2018 WL 3601842 (C.D. Cal. July 23, 2018) .................... 7
 2

 3
     Statutes
 4
     Cal. Civ. Code § 1638 .......................................................................................................... 9
 5

 6   Cal. Civ. Code § 1641 .......................................................................................................... 8
 7

 8   Other Authorities
 9
     Competition, Merriam-Webster.com (Aug. 31, 2018), https://www.merriam-
10    webster.com/dictionary/competition ................................................................................ 7
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28

     ___________________________________________________________________________________
                          TABLES OF CONTENTS AND AUTHORITIES
                                              iii
Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 5 of 16 Page ID #:549



 1                               PRELIMINARY STATEMENT
 2         Crytek does not, and could never, allege that Defendants engaged in the game
 3   engine business or improperly competed against Crytek by promoting a competing game
 4   engine to potential third party developers. Nevertheless, on its third try, Crytek contorts a
 5   different provision in the parties’ Game License Agreement (“GLA”) to impede
 6   Defendants from its actual and alleged business of developing and marketing its own
 7   video game.
 8         The Court already rejected Crytek’s claim that the GLA prohibits Defendants from
 9   using in its game any engine other than “CryEngine” because of the plain language of
10   GLA Section 2.1.2. Now, in its Second Amended Complaint (“SAC”), Crytek attempts
11   to exhume its dismissed claim by misusing GLA Section 2.4, a provision referenced in
12   neither of Crytek’s first two pleadings, which only prohibits Defendants from engaging
13   in a competitive game engine business. Crytek now contends, for the first time, that
14   Defendants’ decision to switch to Amazon’s Lumberyard game engine—a decision the
15   Court just ruled did not violate the GLA—along with Defendants’ announcement to their
16   customers explaining their decision, somehow violate Section 2.4. The plain language of
17   the GLA again dooms Crytek’s new breach theory. Crytek attempts to read out of
18   Section 2.4 the key language conditioning any breach on Defendants engaging in the
19   game engine business. Crytek alleges no facts that would support this claim. The Court
20   should dismiss Crytek’s fallback Section 2.4 attempt at attacking Defendants’ switch to
21   Lumberyard.
22                     STATEMENT OF RELEVANT ALLEGATIONS
23         Defendants are a video game company that, since 2012, has been developing a new
24   game called Star Citizen, described as an epic space adventure, trading, and dogfighting
25   video game, and a related game called Squadron 42. See SAC ¶ 3. On November 20,
26   2012, CIG entered into the GLA with Crytek, another video game company that owns
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        MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
                                              1
Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 6 of 16 Page ID #:550



 1   rights in a game engine called “CryEngine.” Id. ¶¶ 2, 15 [ll. 25-26].1 Pursuant to the
 2   GLA, Defendants agreed to pay Crytek a buyout license fee for access to and use of
 3   CryEngine in connection with the “Game.” Id. ¶ 16.
 4         Crytek alleges that, on or before September 24, 2016, Defendants “announced that
 5   they were using what they described as ‘Star Engine’ as a video game engine in Star
 6   Citizen in place of CryEngine.” Id. ¶ 37. Crytek bases this allegation on a quote from an
 7   interview given by Defendants’ co-founder Chris Roberts, in which he stated that “we
 8   don’t call [the video game engine] CryEngine anymore, we call it Star Engine.” See Id.
 9   ¶ 33.2 On December 23, 2016, Defendants announced that they had stopped using
10   CryEngine in both Star Citizen and Squadron 42, and were now using the Amazon
11   Lumberyard game engine. Id. ¶ 37; see also Goldman Decl. [ECF 20-3] at 38-41.3 In the
12

13

14   1
      The Court previously incorporated the GLA and Amendment #1 to the GLA into the
15   FAC by reference. See Order [ECF 38] at 2 n.3. These documents are attached as
     Exhibits A and B to the Declaration of Jeremy S. Goldman in Support of Defendants’
16   Motion to Dismiss the First Amended Complaint or Claims for Relief Therein or, in the
17   Alternative, to Strike Certain Portions of the First Amended Complaint (“Goldman
     Decl.”) [ECF 20-3] at 6-36.
18
     2
      Paragraph 33 selectively quotes from Mr. Roberts’ interview appearing in the YouTube
19
     video cited in the SAC. The full quote is “we don’t call [the video game engine]
20   CryEngine anymore, we call it Star Engine. It’s quite detached now from what the base
     CryEngine is.” Gamers Nexus, Chris Roberts on CitizenCon, Procedural Planets V2,
21
     Alpha 3, YouTube (Sept. 24, 2016), https://www.youtube.com/watch?v=fDROliuDczo
22   (emphasis added). Because Crytek cites to and relies upon the YouTube video in its
     SAC, the video is incorporated by reference into the SAC. See Coto Settlement v.
23
     Eisenberg, 593 F.3d 1031, 1038 (9th Cir. 2010) (extending the doctrine of incorporation
24   by reference in situations where the complaint necessarily relies on outside material,
     authenticity is not in question, and there are no relevance disputes). The Court may
25
     properly consider the entire YouTube video for the same reasons the Court previously
26   considered other materials that Crytek expressly referenced and relied on in the FAC.
27
     See Order [ECF 38] at 2 n.3.
     3
28    The Court previously incorporated by reference into the FAC the December 23, 2016
     announcement. See Order [ECF 38] at 2 n.3. A copy of the December 23, 2016
     ___________________________________________________________________________________
        MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
                                              2
Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 7 of 16 Page ID #:551



 1   December 23, 2016 announcement, Defendants stated their reasons for switching to the
 2   Lumberyard engine and explained why it believed the Lumberyard engine was a good fit
 3   for Star Citizen and Squadron 42. See Goldman Decl. [ECF 20-3] at 38-41.
 4          Crytek’s initial complaint and its First Amended Complaint (“FAC”) alleged
 5   various claims for breach of contract and copyright infringement against Defendants in
 6   connection with the GLA. See, e.g., Compl. ¶¶ 53-67; FAC ¶¶ 53-70. Crytek’s contract
 7   claim was based heavily on the allegation that the GLA prohibited Defendants from using
 8   any other game engine besides CryEngine in Star Citizen or Squadron 42 (the
 9   “Exclusivity Claim”). E.g., FAC ¶¶ 36-39. The Exclusivity Claim relied solely on
10   Section 2.1.2 of the GLA, which provides: “Crytek grants to [CIG] a world-wide, license
11   only . . . to exclusively embed CryEngine in the Game and develop the Game which right
12   shall be sub-licensable pursuant to Sec. 2.6[.]” See Goldman Decl. [ECF 20-3] at 9-10.
13          Defendants moved to dismiss the FAC in its entirety. With respect to the
14   Exclusivity Claim, Defendants argued that Crytek failed to state a claim because the GLA
15   does not support Crytek’s allegation that Section 2.1.2 prohibits Defendants from using
16   another game engine. Mem. ISO Mot. to Dismiss FAC [ECF 20-2] at 7-10. In its
17   opposition, Crytek retreated, for the first time, to a “backup” argument that Section 2.4 of
18   the GLA supported its Exclusivity Claim. See Opp’n Mem. [ECF 25] at 9-10. Section
19   2.4 states, in its entirety:
20                 During the Term of the License, or any renewals thereof, and
21                 for a period of two years thereafter, Licensee, its principals, and
22                 Affiliates shall not directly or indirectly engage in the business
23                 of designing, developing, creating, supporting, maintaining,
24                 promoting, selling or licensing (directly or indirectly) any game
25                 engine or middleware which compete with CryEngine.
26

27
     announcement is attached as Exhibit C to the Goldman Declaration. See Goldman Decl.
28   [ECF 20-3] at 37-41.
     ___________________________________________________________________________________
        MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
                                              3
Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 8 of 16 Page ID #:552



 1   GLA [ECF 20-3 at 11] (emphasis added). In reply, Defendants addressed Crytek’s new
 2   Section 2.4 argument, explaining that Crytek’s reliance on Section 2.4, which prohibits
 3   Defendants from engaging in a competing game engine business, was misplaced, and had
 4   no bearing on the merits of Crytek’s Exclusivity Claim. See Reply Mem. [ECF 26] at 8.
 5         On August 14, 2018, the Court dismissed the Exclusivity Claim, holding that
 6   Section 2.1.2 means only that “Defendants have the right to use Crytek’s software in the
 7   manner prescribed” and that “the term is not used to compel Defendants to use the
 8   software.” Order [ECF 38] at 10. The Court further held that “[t]he GLA’s structure also
 9   supports this interpretation” and that Defendant’s interpretation of Section 2.1.2 “gives
10   full effect to the GLA’s surrounding provisions.” Id. The Court rejected Crytek’s
11   argument that Section 2.4 supported the Exclusivity Claim. See id. “[S]ection 2.4
12   precludes Defendants from engaging in certain competitive conduct regardless of sections
13   2.1 and 2.2’s directives. Indeed, section 2.4 supplements the preceding contractual
14   provisions.” Id.
15         In a footnote, the Court noted that it was declining to address the substance of
16   Crytek’s breach of contract theory premised on Section 2.4, stating that “[b]ecause
17   Crytek did not allege any cause of action for breach in connection with section 2.4 of the
18   GLA, and Defendants did not move for dismissal with regard to that provision, the Court
19   will not consider the merits of such a claim.” Id. at 11 n.6.
20         On August 16, 2018, Crytek filed the SAC. See ECF 39. Crytek ostensibly
21   removed the Exclusivity Claim, but in fact, regurgitated it by pleading essentially the
22   same claim and calling it a Section 2.4 claim. See id. ¶¶ 36-39. In the facts section,
23   Crytek replaced the subheading “Defendants Broke Its Promise to Exclusively Use
24   CryEngine for the Game,” with “Defendants Broke Their Promise Not to Compete with
25   CryEngine by Adopting And Promoting a Competing Game Engine.” Compare FAC
26   p. 8, with SAC p. 8. The only allegations Crytek added to or modified in the SAC in
27   support of its “new” Section 2.4 claim are set forth below. The language in bold
28   represents new or amended allegations:
     ___________________________________________________________________________________
        MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
                                              4
Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 9 of 16 Page ID #:553



 1                “In the GLA, Defendants promised that they would not adopt or
 2                  promote another game engine in connection with Star Citizen. Among
 3                  other provisions, Section 2.4 of the GLA contained a critical promise from
 4                  Defendants that, in connection with StarCitizen, they would not engage
 5                  in various activities that might benefit game engines which compete
 6                  with CryEngine[.]” (SAC ¶ 36).4
 7                A direct quotation of GLA Section 2.4. (Id. (new allegation)).
 8                “By at least September 24, 2016, Defendants had announced that they were
 9                  using what they described as ‘Star Engine’ as a video game engine in Star
10                  Citizen in place of CryEngine.” (Id. ¶ 37 (new allegation)).
11                “On December 23, 2016, Defendants further announced that they had
12                  licensed and intended to use the Amazon Lumberyard video game engine
13                  for Star Citizen in place of CryEngine, and promoted Lumberyard
14                  extensively in that announcement.” (Id.).
15                “The GLA does not permit Defendants to promote any other video game
16                  engine in connection with Star Citizen until at least two years after the
17                  GLA’s termination, including by announcing and promoting their
18                  adoption of a different game engine.” (Id.). 5
19                “Since that announcement, Defendants have continued to breach Section 2.4
20                  of the GLA by directly or indirectly developing, creating, supporting,
21                  maintaining, and promoting not only Lumberyard but also the so-called ‘Star
22                  Engine.’” (Id. ¶ 38 (new allegation)).6
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     4
25     Of course, Crytek’s characterization of Section 2.4 conspicuously omits the “engaging
26
     in the business of” language.
     5
27       See supra note 4.
     6
28       See supra note 4.
     ___________________________________________________________________________________
        MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
                                              5
     Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 10 of 16 Page ID
                                       #:554


 1               “Crytek has been damaged by Defendants’ breach of Section 2.4 of the
 2                 GLA, including for the reason that Crytek has failed to receive the benefit of
 3                 the favorable attention that it otherwise would have derived from
 4                 Defendants’ use of CryEngine in Star Citizen and attendant promotion of
 5                 CryEngine.” (Id. ¶ 39).
 6          In the Causes of Action section of the SAC, Crytek pleads no additional facts.
 7    Instead, Crytek changed one allegation in one paragraph to remove the Exclusivity
 8    Claim, changing “Defendants further intentionally breached the GLA by breaking their
 9    promise to exclusively use CryEngine in the Star Citizen video game” (FAC ¶ 59) to
10    “Defendants further intentionally breached the GLA by breaking their promise to not
11    directly or indirectly engage in the business of designing, developing, creating,
12    supporting, maintaining, promoting, selling or licensing (directly or indirectly) any game
13    engine or middleware which compete with CryEngine” (SAC ¶ 59).
14          The only two times “engage in the business of” is mentioned in the SAC is in the
15    full recitation of Section 2.4 (SAC ¶ 36) and the aforementioned conclusory allegation in
16    the Cause of Action section (SAC ¶ 59).
17                                        LEGAL STANDARD
18          Federal Rule 12(b)(6) permits a party to move to dismiss a complaint on the
19    grounds that it “fail[s] to state a claim upon which relief can be granted.” To survive a
20    motion to dismiss under Bell Atlantic Corp. v. Twombly, 550 U.S. 554 (2007) and
21    Ashcroft v. Iqbal, 556 U.S. 662 (2009), “a complaint must contain sufficient factual
22    matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal,
23    556 U.S. at 678 (citation omitted). “In construing the Twombly standard, the Supreme
24    Court has advised that ‘a court considering a motion to dismiss can choose to begin by
25    identifying pleadings that, because they are no more than conclusions, are not entitled to
26    the presumption of truth.’” Zindel v. Fox Searchlight Pictures, Inc., No. CV 18-1435 PA
27    (KSx), 2018 WL 3601842 at *2 (C.D. Cal. July 23, 2018) (citing Iqbal, 445 U.S. at 679).
28    Twombly thus “rejected the notion that ‘a wholly conclusory statement of [a] claim would
      ___________________________________________________________________________________
         MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
                                               6
     Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 11 of 16 Page ID
                                       #:555


 1    survive a motion to dismiss whenever the pleadings left open the possibility that a
 2    plaintiff might later establish some “set of [undisclosed] facts” to support recovery.’” Id.
 3    (citing Twombly, 550 U.S. at 561) (alterations in original).
 4            Under the law of the Ninth Circuit: (1) a complaint must “contain sufficient
 5    allegations of underlying facts to give fair notice and to enable the opposing party to
 6    defend itself effectively,” and (2) “the factual allegations that are taken as true must
 7    plausibly suggest an entitlement to relief, such that it is not unfair to require the opposing
 8    party to be subjected to the expense of discovery and continued litigation.” Starr v. Baca,
 9    652 F.3d 1202, 1216 (9th Cir. 2011).
10                                           ARGUMENT
11       I.        The SAC Fails To State A Claim For Breach Of Section 2.4 Of The GLA
12                 Because Crytek Has Not Alleged Any Facts To Support A Claim That
13                 Defendants Have Engaged In A Competing Game Engine Business
14            By definition, a non-compete clause like Section 2.4 prohibits licensees from
15    engaging in a competitive business that targets third parties who are potential additional
16    customers of the licensor. See, e.g., Competition, Merriam-Webster.com (Aug. 31,
17    2018), https://www.merriam-webster.com/dictionary/competition (defining
18    “competition” as “the effort of two or more parties acting independently to secure the
19    business of a third party by offering the most favorable terms.”) (emphasis added). A
20    non-compete clause does not prohibit the licensee from engaging in activities for its own
21    purposes. The SAC fails to state a claim for breach of Section 2.4 because Crytek alleged
22    no facts to support a claim that Defendants engaged in the business of designing,
23    developing, creating, supporting, maintaining, promoting, selling or licensing a game
24    engine that competes with CryEngine.
25            A.     The Plain Language Of The GLA Only Prohibits Defendants From
26                   Engaging In The Business Of Promoting Competing Game Engines
27            Crytek tries to read one word—“promoting”—in Section 2.4 in isolation to the
28    exclusion of everything else in the GLA that renders its newfound interpretation
      ___________________________________________________________________________________
         MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
                                               7
     Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 12 of 16 Page ID
                                       #:556


 1    untenable. According to Crytek, Section 2.4 “contained a critical promise” that
 2    Defendants “would not engage in various activities that might benefit game engines that
 3    compete with CryEngine[.]” SAC ¶ 36. Crytek further alleges that Section 2.4 “does not
 4    permit Defendants to promote any other video game engine in connection with Star
 5    Citizen until at least two years after the GLA’s termination, including by announcing and
 6    promoting their adoption of a different engine.” Id. ¶ 37. But these allegations
 7    improperly read the crucial “in the business of” language out of the GLA. The conduct
 8    proscribed by Section 2.4 is engaging in the business of eight different activities
 9    (designing, developing, creating, supporting, maintaining, promoting, selling or licensing
10    a competing game engine) that collectively describe the activities of a competing game
11    engine business that, by definition, targets potential third-party licensees of CryEngine.
12    GLA § 2.4 [ECF 20-3 at 10]. Section 2.4 does not proscribe the mere act of promoting
13    another game engine or the other activities that are incidental to Defendants’ business as
14    a game developer and publisher. The Court should reject Crytek’s attempt to impose an
15    onerous restriction upon Defendants that finds no support in the GLA and to which
16    Defendants did not agree.
17          Crytek’s omission of the “in the business of” clause from Section 2.4 and failure to
18    read the provision and GLA as a whole violate well-established California law regarding
19    contract interpretation. See Cal. Civ. Code § 1641 (“The whole of a contract is to be
20    taken together, so as to give effect to every part, if reasonably practical, each clause
21    helping to interpret the other.”); Yahoo! Inc. v. Nat’l Union Fire Ins. Co. of Pittsburgh,
22    PA, 255 F. Supp. 3d 970, 976 (N.D. Cal. 2017) (“[T]he correct method of interpretation
23    under California law is examining the provision as a whole.”). Indeed, it is black letter
24    law that “a court cannot read a contract so as to ignore certain of its provisions, as ‘such a
25    reading would be contrary to the rule that all words in a contract are to be given
26    meaning.’” Lyons v. Fire Ins. Exch., 161 Cal. App. 4th, 880, 886-87 (2008); see Nat’l
27    City Police Officers’ Ass’n v. City of Nat’l City, 87 Cal. App. 4th 1274, 1279 (2001) (“An
28    interpretation which renders part of the instrument to be surplusage should be avoided.”);
      ___________________________________________________________________________________
         MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
                                               8
     Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 13 of 16 Page ID
                                       #:557


 1    see also Epic Commc’ns, Inc. v. Richwave Tech., Inc., 237 Cal. App. 4th 1342, 1349
 2    (2015) (quoting Transp. Guar. Co. v. Jellins, 29 Cal. 2d 242, 247 (1946) (“[T]he
 3    character of a contract is not interpreted by isolating any single clause or group of
 4    clauses[.]”); Am. Alternative Ins. Corp. v. Superior Court, 135 Cal. App. 4th 1239, 1245
 5    (2006) (“We consider the contract as a whole and interpret the language in context, rather
 6    than interpret a provision in isolation.”).
 7          Crytek’s proffered interpretation of Section 2.4 also leads to absurdities. See Cal.
 8    Civ. Code § 1638 (“The language of a contract is to govern its interpretation, if the
 9    language is clear and explicit, and does not involve an absurdity.”); County of Marin v.
10    Assessment Appeals Bd., 64 Cal. App. 3d 319, 325 (1976) (“The court shall avoid an
11    interpretation . . . which would result in absurdity.”). The Court already rejected Crytek’s
12    baseless Exclusivity Claim, holding that the GLA does not restrict Defendants’ right to
13    use other software applications to develop its game. Order, [ECF 38] at 11 (“[S]ection
14    2.1.2 of the GLA neither requires Defendants to embed CryEngine in Star Citizen nor
15    precludes Defendants from embedding other software platforms into the game[.]”).
16    Adopting Crytek’s interpretation of Section 2.4 would, as a practical matter, impose the
17    same restriction. Under Crytek’s reading of Section 2.4, Defendants would not be
18    permitted to design, develop, create, support, or maintain any other game engine or
19    middleware. But Defendants could not possibly use a third-party engine or middleware
20    in a video game if they are prohibited from, for example, “maintaining” or “supporting”
21    that integrated software. Similarly, Defendants could not possibly distribute a video
22    game that embeds a third-party engine or middleware if they are prohibited from
23    “promoting, selling, or licensing” that game with the integrated third-party software.
24          Since the GLA grants Defendants the right, not the obligation to use CryEngine,
25    and since the GLA does not prohibit Defendants from using another game engine,
26    Section 2.4 is reasonably susceptible to only one interpretation: Defendants may not
27    engage in a competing game engine business that performs any of the activities
28    enumerated in Section 2.4. See Scheenstra v. Cal. Diaries, Inc., 213 Cal. App. 4th 370,
      ___________________________________________________________________________________
         MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
                                               9
     Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 14 of 16 Page ID
                                       #:558


 1    390 (2013) (“If the court determines there is no ambiguity—that is, the language is
 2    reasonably susceptible to only one interpretation—then the judicial inquiry into meaning
 3    is finished and the clear and explicit meaning governs.”). Accordingly, the Court should
 4    reject Crytek’s construction of Section 2.4.
 5          B.     The SAC Fails To Allege Any Facts To Support A Claim That
 6                 Defendants Have Engaged In A Competing Game Engine Business
 7          The SAC alleges no facts to support a claim that Defendants have engaged in the
 8    business of promoting a competing game engine in violation of Section 2.4. Rather, at
 9    most, Crytek alleges that two public statements by Defendants support a claim that
10    Defendants “promoted” other game engines. Even accepting the truth of these
11    allegations, neither statement supports a claim for breach of Section 2.4.
12          First, Crytek alleges that Defendants “announced that they were using what they
13    described as ‘Star Engine’ as a video game engine in Star Citizen in place of CryEngine.”
14    SAC ¶ 37. This is highly misleading and a red herring. In fact, as discussed above,
15    Defendants’ co-founder Chris Roberts stated during an interview that Defendants had
16    begun to refer internally to CryEngine as “Star Engine” because, due to the volume of
17    modifications made by Defendants for use in their game, the engine was “quite detached
18    now from what the base CryEngine is.” See Gamers Nexus, supra note 2 at 17:00-18:44
19    (cited and incorporated by reference in Paragraph 33 of the SAC). Crytek does not and
20    could not allege that Defendants ever attempted to promote, license, or sell its modified
21    version of CryEngine to any third party. Defendants’ internal use of the “Star Engine”
22    label to describe their reworked version of CryEngine does not even support a claim that
23    Defendants were promoting a competing game engine, much less that Defendants were
24    engaged in the business of promoting a competing game engine.
25          Second, Crytek alleges that Defendants promoted Amazon’s Lumberyard game
26    engine in their December 23, 2016 announcement related to their switch from CryEngine
27    to Lumberyard. SAC ¶ 37. Again, Crytek mischaracterizes the nature and purpose of
28    Defendants’ statements. The December 23, 2016 announcement provided important
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         MEM. OF PTS. & AUTHS. ISO DEFENDANTS’ MOTION TO DISMISS THE SAC IN PART
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     Case 2:17-cv-08937-DMG-FFM Document 42-1 Filed 09/06/18 Page 15 of 16 Page ID
                                       #:559


 1    news to Defendants’ customers—video game players, not potential licensees of
 2    CryEngine—about the development of Star Citizen and Squadron 42. Because the game
 3    engine is a critical component of a video game, Defendants used the announcement to
 4    explain why the switch to Lumberyard was a good move for the company that would
 5    benefit its customers. Goldman Decl. [ECF 20-3] at 39. Crytek does not and could not
 6    allege that Defendants ever attempted to promote, license, or sell Lumberyard to any
 7    third party. Defendants’ statements about Lumberyard served Defendants’ own business
 8    needs. They do not support Crytek’s claim that Defendants “promoted” Lumberyard; a
 9    fortiori, they do not support a claim that Defendants engaged in the business of
10    promoting Lumberyard.
11          In short, neither the September 24, 2016 statement nor the December 23, 2016
12    announcement, either in isolation or taken together, provide any support for Crytek’s
13    claim that Defendants promoted a competing game engine, much less a claim that
14    Defendants engaged in the business of designing, developing, creating, supporting,
15    maintaining, promoting, selling or licensing a competing game engine. Indeed, Crytek
16    does not allege a single fact to support a claim that Defendants engaged in a business that
17    in any way competes with Crytek’s game engine business.
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                                       #:560


 1                                        CONCLUSION
 2          For the reasons stated herein, the Court should dismiss Crytek’s claim for breach
 3    of contract based on Section 2.4 of the GLA.
 4    Dated: September 6, 2018              FRANKFURT KURNIT KLEIN & SELZ P.C.
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